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     HAROLD P. SMITH, ESQ. (SBN: 126985)
 1   psmith@dhillonsmith.com
 2   KRISTA L. SHOQUIST, ESQ. (SBN: 264600)
     kshoquist@dhillonsmith.com
 3   DHILLON & SMITH LLP
     177 Post Street, Suite 700
 4   San Francisco, California 94108
     Telephone: (415) 433-1700
 5   Facsimile: (415) 520-6593
 6
     Attorneys for Plaintiff
 7   Harmeet K. Dhillon

 8                                 UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10
11   HARMEET K. DHILLON,                                   Case No. 13-CV-01465 SI

12                    Plaintiff,                           PLAINTIFF’S OPPOSITION TO
                                                           MOTION FOR LEAVE TO FILE
13                    v.                                   PROPOSED AMICUS CURIAE BRIEF
                                                           OF THE ELECTRONIC FRONTIER
14
     DOE 1, et al.,                                        FOUNDATION
15
                      Defendants.                      Hearing Date: February 28, 2014
16                                                     Hearing Time: 9:00 a.m.
                                                       Courtroom 10, 19th Floor
17                                                     Hon. Susan Illston
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 1                                         I.    INTRODUCTION

 2          Plaintiff Harmeet K. Dhillon (“Plaintiff”) submits this Opposition to Motion for Leave

 3   to File Amicus Curiae Brief of The Electronic Frontier Foundation In Support Of Defendant

 4   Doe 1’s (“Defendant’) Motion for Judgment on the Pleadings (“EFF Motion”).

 5          Defendant’s Motion for judgment on the pleadings pursuant to FRCP 12(c) or for

 6   summary judgment pursuant to FRCP 56, currently pending before this Court, turns on whether

 7   there are disputed issues of material fact, and whether the affirmative defense of fair use applies

 8   to Defendant’s admitted use of Plaintiff’s copyrighted photograph. The Electronic Frontier

 9   Foundation (“EFF”)’s motion for leave to file an amicus brief should be denied because EFF’s

10   proposed amicus brief merely restates Defendant’s legal arguments, offers no unique

11   information or perspective that has not or could not have been raised by Defendant himself, and

12   would unfairly prejudice Plaintiff.

13    II.     LEGAL STANDARD FOR GRANTING LEAVE TO FILE AN AMICUS BRIEF

14          “There is no inherent right to file an amicus curiae brief with the Court,” Long v. Coast

15   Resorts, Inc., 49 F. Supp. 2d 1177, 1178 (D. Nev. 1999). Rather, the court ultimately retains

16   “broad discretion to either permit or reject the appearance of amicus curiae.” Gerritsen v. de la

17   Madrid Hurtado, 819 F.2d 1511, 1514 (9th Cir. 1987). “The vast majority of amicus curiae

18   briefs are filed by allies of litigants and duplicate the arguments made in the litigants’ briefs, in

19   effect merely extending the length of the litigant’s brief. Such amicus briefs should not be

20   allowed. They are an abuse.” Ryan v. Commodity Futures Trading Com'n, 125 F.3d 1062, 1063

21   (7th Cir. 1997); see also Gabriel Technologies Corp. v. Qualcomm Inc. 2012 WL 849167, at *4

22   (S.D. Cal., Mar. 13, 2012) (“An amicus brief is meant to assist the court and not merely extend

23   the length of the litigant’s brief”). This perspective has been adopted by federal courts across

24   the nation. See, e.g., Beesley v. International Paper Co. 2011 WL 5825760 (S.D. Ill., Nov. 17,

25   2011); JPMorgan Chase Bank, N.A. v. Fletcher, 2008 WL 73233 (N.D. Okla., Jan. 7, 2008).

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 1            An amicus is to be a friend of the court, not a friend of a party. Ryan v. Commodity

 2   Futures Trading Com’n, supra 125 F.3d at 1063; U.S. v. State of Mich. 940 F.2d 143, 164-65

 3   (6th Cir. 1991); Long v. Coast Resorts, Inc. 49 F.Supp.2d 1177, 1178 (D. Nev. 1999). “When

 4   the party seeking to appear as amicus curiae is perceived to be an interested party or an

 5   advocate of one of the parties to the litigation, leave to appear as amicus curiae should be

 6   denied.” Liberty Lincoln Mercury, Inc. v. Ford Marketing Corp. 149 F.R.D. 65, 82 (D.N.J.

 7   1993).

 8            An amicus brief should only be allowed by the Court when (1) a party is not represented

 9   competently by counsel, or not represented at all; (2) when the amicus has an interest in some

10   other case that may be affected by the decision in the present case; or (3) when the amicus has

11   unique information or perspective that can help the court beyond the help that the lawyers for

12   the parties are able to provide. Ryan v. Commodity Futures Trading Com’n, supra, 125 F.3d at

13   1063; Re2con, LLC v. Telfer Oil Co., 2012 WL 6570902 (E.D. Cal. 2012); Community Ass’n for

14   Restoration of Environment v. DeRuyter Bros. Dairy, 54 F.Supp.2d 974 (E.D. Wash. 1999).

15                 III.    AN AMICUS BRIEF IS UNWARRANTED IN THIS CASE

16            A. Doe 1 is represented competently by legal counsel.

17            In the present case, Defendant appears to be represented by competent legal counsel,

18   namely, Rick A. Cigel of The Cigel Law Group, PC. See, e.g., Dkt. 32. EFF’s Motion does not

19   argue otherwise in its attempt to justify the admittance of its proposed amicus brief.

20            B. EFF has not demonstrated that it has an interest in some other case that may be

21               affected by the decision in this litigation.

22            EFF’s Motion does not identify any pending case that may be affected by the decision in

23   the present case. Instead, EFF asserts a vague concern regarding the “possible consequences”

24   this case could have unidentified “Internet users.” EFF Motion, 2:1-3. This is insufficient under

25   the standard for seeking leave to file an amicus brief. See, e.g., Re2con, supra, 2012 WL

26   6570902.

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 1          C. EFF’s proposed amicus brief merely restates Defendant’s legal argument and

 2              does not present unique information or perspective.

 3          EFF’s Motion should be denied because the proposed amicus brief merely restates

 4   Defendant’s arguments. Like Defendant’s pending Motion, EFF’s proposed amicus brief

 5   devotes substantial attention to a discussion of First Amendment rights, generally, as well as to

 6   the elements of the fair use doctrine. See Dkt. 51-1, p. 2. However, these are well-settled

 7   principles that Plaintiff does not dispute, and EFF’s Motion adds nothing to the analysis. EFF’s

 8   brief does little more than restate the same cases highlighted by Defendant,1 and to the extent

 9   EFF cites different cases, the language used by the respective courts is functionally equivalent,

10   and the resulting argument is duplicative. Indeed, EFF itself “emphasizes that Defendant’s fair

11   use analysis is correct and that his or her substantive motion should be granted.” EFF’s Motion,

12   2:23. Emphasis by an amicus in favor of one party’s analysis of the law is of absolutely no use

13   to this Court. See Ryan v. Commodity Futures Trading Com’n, supra, 125 F.3d at 1063. EFF’s

14   reiteration of Defendant’s description of the law and analysis of the facts amounts to little more

15   than cheerleading for one party over another,2 and is improper.

16          Further, EFF has not shown that it possesses unique insight that is unavailable to counsel

17   for either party and will affect the outcome of the dispute. EFF claims that its proposed amicus

18   brief would provide perspective into the interests of “consumers” or the “public at large.” EFF’s

19   Motion,1:17; 2:15-16. However, Doe 1’s pending motion does not concern the public’s right to

20   free political speech, but rather, whether there are any genuine issues of material fact

21   concerning whether Doe 1’s admitted use of Plaintiff’s copyrighted work constitutes fair use.

22   Any perspective offered by EFF as to the rights of the public to engage in anonymous political

23   speech are unnecessary and unrelated to this stage in litigation.

24
     1
       EFF cites eleven cases to supports its fair use arguments. Five of these cases are also cited by
25
     Defendant in his fair use analysis.
     2
26     For instance, EFF’s proposed amicus brief even asks the Court to award fees to Defendant. Dkt.
     51-1, p.22.
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 1          Defendant’s pending Motion turns on whether there are disputed issues of material fact.

 2   EFF, as a third party without knowledge of the facts, cannot contribute any specialized

 3   perspective that could assist the Court with its determination. Further, where facts are

 4   undisputed, Defendant’s motion requires an analysis of the fair use defense. The fair use factors

 5   are statutorily enumerated under 17 U.S.C.A. § 107, and thus are not open to debate, nor is the

 6   law particularly in flux in the Ninth Circuit on the statutory factors. The only issue raised by

 7   Defendant’s motion is whether Defendant has met its burden of providing that its admitted

 8   infringement of Plaintiff’s copyright is excused by the fair use doctrine.

 9          In a further attempt to justify admission of its amicus brief, EFF offers argument

10   concerning the standard the Court should apply in evaluating Defendant’s pending Motion.

11   EFF’s Motion, 2:7-8. This “argument” is nothing more than a basic recitation of an undisputed

12   legal standard, and underscores the uselessness of EFF’s amicus brief. EFF’s contribution is not

13   unique, nor does it present a perspective that is desirable or necessary to bring before this Court.

14        IV.     EFF’S AMICUS BRIEF WOULD UNFAIRLY PREJUDICE PLAINTIFF

15          EFF does not provide this Court with an unbiased account of the law. It is clear from,

16   inter alia, EFF’s regurgitation of Defendant’s argument; request that the Court award Defendant

17   attorney’s fees; and failure to mention the long history of protections the Ninth Circuit has

18   established for intellectual property in the face of unfettered infringement inaccurately framed

19   as “free speech,” that EFF is an advocate of Defendant, not a friend of the Court. See U.S. v.

20   State of Mich., supra, 940 F.2d at 164-65; Liberty Lincoln Mercury, Inc., supra, 149 F.R.D. 65.

21   As such, EFF is precisely the type of amicus whose opinion provides no assistance to this Court,

22   particularly under the circumstances relevant to Defendant’s pending Motion.

23          California courts have made it clear that where an amicus brief does not assist the court

24   in determining the outcome of the present motion, it does little more than extend the length of a

25   party’s brief. Gabriel Technologies Corp., supra, 2012 WL 849167 at 4 (“An amicus brief is

26   meant to assist the court and not merely extend the length of the litigant’s brief.”) EFF’s

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 1   proposed amicus brief would place Plaintiff at a clear disadvantage. If EFF’s Motion is granted,

 2   Defendant will essentially be given two bites at the apple. EFF’s proposed amicus brief is

 3   seventeen pages long, and the admission of this additional brief would effectively expand the

 4   argument in favor of Defendant’s position to a thirty-two pages, where Plaintiff is limited to

 5   twenty-five pages. It is clear that Plaintiff would be unfairly prejudiced if EFF’s Motion is

 6   granted.

 7                                         VI.     CONCLUSION

 8          For the foregoing reasons, Plaintiff respectfully requests that this Court deny EFF’s

 9   Motion for Leave to File Amicus Curiae Brief. In the alternative, should the Court grant EFF’s

10   Motion, Plaintiff requests an opportunity to respond.

11   Date: January 28, 2014                       DHILLON & SMITH LLP

12
                                            By:
13                                                __/s/ Krista L. Shoquist _______________
14                                                HAROLD P. SMITH
                                                  KRISTA L. DHILLON
15                                                Attorneys for Plaintiff Harmeet K. Dhillon

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